Case 6:17-cv-06323-|\/|AT-.]WF Document 31 Filed 04/16/19 Page 1 of 1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

 

MICHAEL CASACCIA,
Plaintiff(s),
MEDIA TION
CERTIFICATION
17 - cv - 6323
V.
CITY OF ROCHESTER, et. al.,
Defendant(s).
I hereby certify that:
The mediation session scheduled for has been adjourned to

 

 

Case settled prior to the first mediation session.

 

 

 

 

/ Mediation session was held on 4/15/ 19 .

 

 

Case has settled. (Comment if necessary).

 

 

Case has settled in part. (Connnent below). Mediation will continue on

 

 

Case has settled in part. (Comment below). Mediation is complete.

 

 

Case has not setlled. Mediation Will continue on

 

 

 

 

/ Case has not setlled. Mediation is complete The case Will proceed toward trial
pm'suant to the Court's scheduling order.

 

 

Date: 04/16/2019 Mediator: /S/ Steven V. Modica

Additional Comments.°

 

 

 

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